               UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                : NO. 3:16-CR-254
                                        :
                 v.                     : (JUDGE MANNION)
                                        :
DAVID D. KLEPADLO, and                  :
DAVID D. KLEPADLO &                     : FILED ELECTRONICALLY
ASSOCIATES, INC.                        :
         Defendants                     :


GOVERNMENT’S SUPPLEMENTAL SENTENCING MEMORANDUM

     This sentencing memorandum is intended to supplement the

Government’s initial Sentencing Memorandum filed on September 24,

2019 (Doc. 40). Herein, the Government will address the outstanding

sentencing guideline issues; Klepadlo’s stated health concerns in

support of a variance (Doc. 70); and then set forth its reasons why the

37-month prison sentence sought a year ago by the Government

remains its position. However, as explained below, the Government

recognizes that Klepadlo has health issues, and will not oppose a

delayed reporting date in the discretion of the court.

I.   Introduction

     The Government believes it is appropriate to set forth who the

defendants are and describe their business activities given the passage

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of time and the Court’s recent assignment to this case. Klepadlo is a

well-known licensed professional engineer and licensed wastewater

treatment plant operator in northeast Pennsylvania. His firm, David

D. Klepadlo and Associates, Inc., (DKA) was a multi-discipline

engineering firm in which he was the principal and the decision-maker.

As part of its business, Klepadlo and his firm designed and operated

wastewater treatment plants for rural municipal agencies as one part of

his business operations. Operating such plants was one facet of

Klepadlo’s business operations. These facts are uncontested.

     Klepadlo operated publicly owned treatment plants (POTWs),

commonly known as sewage treatment plants, under contract to various

municipalities, including the Greenfield Township Sewer Authority

(GTSA) and the Benton-Nicholson Sewer Authority (BNSA).1 Klepadlo

designed and operated such plants for decades. He operated GTSA

from 1991 or earlier until January, 2018, after designing it, and was the

contract operator at BNSA from 2007 until his indictment in 2016.

These plants treated sewage – human waste - generated by residential




     1    When the investigation began, Klepadlo operated four such
plants.
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and commercial customers. The plants were supposed to treat human

waste to make it safe to discharge into small receiving streams which

flowed into larger water bodies making up larger watersheds that are

part of the Susquehanna River drainage area. The Susquehanna River

is the lifeblood of the Chesapeake Bay. The Pennsylvania Department

of Environmental Protection (PADEP), acting pursuant to a delegation

of authority from the U.S. Environmental Protection Agency (EPA), had

issued Clean Water Act permits to GTSA and BNSA authorizing them

to discharge treated and monitored sewage to small streams.

     The potential harms from untreated or partially treated sewage

are well known, especially to someone with Klepadlo’s education,

training and work experience. The GTSA and BNSA relied on

Klepadlo’s expertise to operate their plants, comply with the law and

protect the environment and public health. It was his job – and his job

alone - to ensure that his firm performed all the duties required by its

contacts with the GTSA and BNSA, including abiding by all Clean

Water Act permit requirements. He knew that GTSA and BNSA would

be legally liable for any permit violations since the permits were issued

to the Authorities. See 33 U.S.C. § 1319(d), (g).


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     It was Klepadlo’s responsibility to ensure that he had sufficient

staff to perform the duties required by his clients and their CWA

permits, and to ensure that staff performed duties assigned by him.

He knowingly failed to do so for years, both by his own admission and in

documented PADEP inspections. The faith that clients placed in him is

evidenced by the fact that the GTSA continued to employ him for 15

months even after he was indicted in September, 2016, and twice

arrested. However, despite this faith, he continued to let the GTSA

down. The GTSA ultimately fired him after federal agents executed a

post-indictment search warrant at the GTSA on December 12, 2017,

and PADEP issued a field order the same day to GTSA requiring it to

take corrective action.

     Klepadlo continues to insist that his guilt on Count 4 is based on a

failure to supervise his employee. (Defendants’ Sentencing

Memorandum (DSM), Sealed, 9/27/19); Exhibit A (letter of David D.

Klepadlo). However, the facts show that Klepadlo knowingly failed to

perform daily and weekly sampling required by the CWA permits

because he did not think it was necessary, and that it was a “waste of

time” and “resources.” In other words, he substituted his judgment for


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that of the PADEP and the law, and cheated his clients who paid him to

perform all the tasks required by the CWA permits.

     The Government provides the following basic outline of the

technology used at both the GTSA and BNSA sewage treatment plant to

inform the Court’s understanding of the guideline issues discussed

below. These plants exist to treat domestic sewage, generated by

residential and commercial customers. Sewage flows via pipes and

pump stations to the plants. Each plant uses a Sequenced Batch

Reactor (SBR) unit to process and treat the wastewater. Disinfection

using an Ultraviolet (UV) light at GTSA and at BNSA occurred near the

end of the treatment process. These systems operate on an

approximately four-hour cycle, with wastewater being discharged from

a reactor for approximately 20 minutes at the end of each cycle. The

reactors operated in sequence at GTSA and at BNSA so that one or the

other of the two SBRs would discharge every two hours. Thus, the two

plants did not discharge continuously into receiving streams but instead

discharged their contents on the predetermined schedule. Compliance

sampling had to occur during the time when discharges were occurring

to be meaningful.


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      A preliminary issue that seems to underlie much of the parties’

sentencing guideline disputes involves the scope of conduct the Court is

to consider in sentencing the defendants. As evidenced by the

sentencing memoranda previously filed, the parties take very differing

views of the scope of the conduct which the Court should consider. As

the Court is well aware, the Supreme Court has ruled that uncharged,

charged but not convicted, and even acquitted conduct may be used at

sentencing as relevant conduct. United States v. Watts, 519 U.S. 148

(1997). In this case, Klepadlo’s operation of the sewage plants and the

permit violations he committed are relevant conduct pursuant to

U.S.S.G. § 1B1.3(a)(1)(B). See PSR ¶ 21. This includes the charged

counts to which Klepadlo did not plead guilty. Thus, as much as

Klepadlo suggests otherwise, the Court is not limited to considering the

offense conduct in Count 4 in determining the applicability of

enhancements under Chapter 2Q1.2 and 3. The Government made it

clear in its initial Sentencing Memorandum that it was using relevant

conduct, and Klepadlo has not contested its applicability in this case.

(Doc. 40, p. 24).




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II.   Whether Section 2Q1.2(b)(1) Applies

      The defense, in its recent Supplemental Sentencing Memorandum

(Doc. 70) agreed that Section 2Q1.2(b)(4) applies based on Judge

Caputo’s October 9, 2019, Memorandum Opinion. (Doc. 54, p. 5).

However, Klepadlo still argues that Section 2Q1.2(b)(1) does not apply.

The Government disagrees.

      First, Klepadlo agrees that Judge Caputo’s ruling is the law of the

case. (Doc. 70, p. 4). The Government believes that the Court decided

the Section 2Q1.2(b)(1) issue in that ruling. To recap, Judge Caputo

first ruled that Section 2Q1.2 applied in this case rather than Section

2Q1.3. The Court then rejected Klepadlo’s claim that this was a “simple

recordkeeping offense” pursuant to Application Note 6, which did not

involve any offense characteristics under Section 2Q1.2. Rather, the

Court found that “his actions reflect a conscious effort to conceal his

neglect for the dictates of the NPDES permits. For over a year he failed

to operate and manage GTSA and BNSA [citations omitted]…. Klepadlo

only visited each facility a few times per week, even though the NPDES

permit for each facility required daily testing of various pollutants.

(citation omitted). To hide his mismanagement and infrequent visits,


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Klepadlo estimated results on DMRs, while simultaneously certifying

that all pollutant samples were accurately tested and reported in

compliance with the NPDES permits (citation omitted).” (Doc. 54, p. 8).

Judge Caputo further cited evidence that PADEP inspectors saw

growths around discharge pipes that caused them concern. Id. Thus, it

is not accurate to claim, as Klepadlo does on page 4 of his Supplemental

Sentencing Memorandum, that the only aspect of the case that Judge

Caputo considered was failure to do sampling. It is clear Judge

Caputo’s references to failure to operate and maintain the plant and the

PADEP’s observations of disturbing conditions at the GTSA plant show

that he took a broad view of the relevant conduct in this case. The

Government asks this Court to follow that same path.

     Second, the discharge of wastewater without compliance

monitoring required by the permit is illegal on its face. (GTSA NPDES

Permit No. PA 0061671, p. 1 – “GTSA authorized to discharge in

accordance with effluent limitations and monitoring requirements of

permit.”). Thus, it is wrong to claim that the Government has failed to

establish that illegal discharges of wastewater occurred. As Judge

Caputo found, the very nature of Count 4 established that Klepadlo


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falsified DMRs to cover up his unmonitored – and thus illegal -

discharges.

     Moreover, the broader relevant conduct in this case provides

additional proof of such illegal discharges. Judge Caputo clearly took

relevant conduct into account, including the illegal discharges set forth

in Counts 2 and 3 of the Indictment, including inspectors’ observations

of various fungal growth and bloodworms in the channel taking the

GTSA discharge to the stream. The Government cited this conduct as

relevant conduct in its initial Sentencing Memorandum, and provided

photographs and other evidence to support its position. Klepadlo has

not disputed that such events occurred and were observed by PADEP.

     The Government summarizes its prior relevant conduct here. The

charged conduct to which Klepadlo did not plead guilty involved various

aspects of Klepadlo’s performance of his contracts to operate and

maintain the plants in addition to performing compliance monitoring

and reporting, including a two-year Clean Water Act conspiracy charge

in Count 1. Counts 2 and 3 specifically involved failure to operate the

plants, and the evidence clearly shows that Klepadlo violated various

terms of the GTSA and BNSA Clean Water Act permits. His conduct


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involved discharges into the environment on multiple occasions, and

that is sufficient to trigger application of Section 2Q1.2(b)(1)(A). United

States v. Smith, 629 Fed. Appx 292, 297 (3d Cir. 2015) (6-level

enhancement “easily met” in Clean Air Act asbestos prosecution where

“months of substandard asbestos removal” resulted in friable asbestos

in air, bags of asbestos littered about the property, and a dumpster full

of asbestos exposed to the elements). United States v. Chau, 293 F.3d

96, 100 (3d Cir. 2002) (asbestos); United States v. West Indies

Transport, Inc., 127 F.3d 299 (3d Cir. 1997) (Clean Water Act). Thus,

the Court should find, if it concludes Judge Caputo did not already

decide this issue, that Section 2Q1.2(b)(1)(A) applies in this case, and

that Klepadlo is subject to a six-level enhancement for repetitive,

continuous or ongoing discharges into the environment.

III.   Guided Departures Pursuant to Sections 2Q1.2(b)(1) and (b)(4)

       In his initial Sentencing Memorandum, Klepadlo devoted less

than two pages in arguing why Klepadlo should receive separate two-

level reductions in the Section 2Q1.2(b)(1)(A) and (b)(4) specific offense

enhancements based on Application Notes 5 and 8. However, he failed

to set forth that he bears the burden of proof and did not provide a


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detailed examination of the factors set forth in the two Application

Notes. (DSM, p. 14-15). Having had almost a year to consider the

Government’s arguments on this point, Klepadlo expanded his

discussion to three pages in his Supplemental Sentencing

Memorandum, pages 7-10. Both memoranda rely heavily on a report

prepared by Kevin Long, an environmental consultant hired by

Klepadlo. As the Government points out below, Mr. Long’s report is

focused narrowly on one aspect of the case, does not address the long-

standing volume of pollution discharges on unmonitored days, and

pollution resulting from Klepadlo’s relevant conduct.

     The Government agrees that the Court may consider these

departures, which are referred to as “guided’ departures because the

Application Notes specify the factors to be considered by the Court and

the amount of upward or downward departure which a Court may

grant. It is important to note that any departure may be one or two

levels; it is not a question of automatically applying a two-level

reduction if the Court finds that either guided departure applies.

     In his Supplemental Memorandum, Klepadlo writes as if the

Government has the burden of proof to establish any of the factors set


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forth in the two Application Notes, especially environmental harm.

However, the opposite is true. Klepadlo must prove by a preponderance

of evidence that he is entitled to either of the guided departures. The

Court should deny both requests since Klepadlo has not met his burden

of proof, even if the Court limits its consideration to the conduct

underlying Count 4. West Indies Transport, 127 F.3d at 605-06 (district

court’s refusal to depart not erroneous even if pollutants were fully

biodegradable). 2

     Application Notes 5 and 8 set forth the factors that a Court should

consider in deciding whether to apply a one- or two-level reduction. The

factors are similar, but Klepadlo correctly points out each guided

departure must be analyzed separately. The Section 2Q1.2(b)(1), Note 5

factors include harm resulting from the discharge, quantity and nature

of the substance or pollutant, duration of the offense and the risk

associated with the offense. The Section 2Q1.2(b)(4), Note 8 factors are



     2 The Government notes that Klepadlo has not challenged many of
the facts outlined in the PSR, including the time period of the
Government’s 2013-2014 video surveillance at both plants and the
determinations of how infrequently Klepadlo or his employee came to
either plant to perform Klepadlo’s contractually and legally required
tasks.

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more limited and focus on nature and quantity of the substance or

pollutant involved and the risk associated with the offense. The

Government considered these factors, and some of the points Klepadlo

raises, in deciding not to seek upward guided departures for either

Application Note.

      In his sentencing memoranda, Klepadlo made broad claims about

lack of environmental harm while failing to consider his broad and

lengthy pattern of illegal conduct. Klepadlo failed to examine in detail

each of the factors set forth in the Application Notes. In doing so, he

ignored the relevant facts the Court must consider, both with regard to

Count 4 and the broader relevant conduct in this case. These factors

overlap; however, the Government will discuss each factor in detail

rather than engaging in a generalized discussion about environmental

harm.

IV.   Section 2Q1.2(b)(1)(A), Application Note 5

      The goal of the Clean Water Act is to “restore and maintain the

chemical, physical and biological integrity of the Nation’s waters.” 33

U.S.C. § 1251(a). With that goal in mind, the analytical starting point

is the Sentencing Commission’s determination that 2Q1.2(b)(1)


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“assumes a discharge. . .into the environment resulting in actual

environmental contamination.” Application Note 5. With

contamination established, the Court must determine whether the

factors in Application Note 5 justify a reduction of any kind.

                                  Harm

     It is not the Government’s burden to prove that environmental

harm existed or to what degree as a result of Klepadlo’s conduct.

Klepadlo’s bears the burden of proof, and he principally relies on the

expert report of Kevin Long, whom the Government understands will

not testify at sentencing. For the reasons set forth below, Mr. Long’s

limited conclusions, based on very limited sampling data, are

insufficient to meet Klepadlo’s burden of proof.

     Mr. Long’s report focuses on one very limited aspect of this case –

Klepadlo’s failure to perform required daily and weekly sampling at the

two plants – and ignores the relevant conduct in this case. The

Government makes the following observations about Mr. Long’s

qualifications, his methodology and his conclusions based on the

information contained in his report.




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• The Government agrees that Mr. Long is an expert in the fate

  and transport of pollutants and doing various kinds of risk

  analyses.

• Mr. Long is not a licensed wastewater treatment plant

  operator, and his specific qualifications discussed in his report

  do not mention wastewater treatment plant expertise.

• Mr. Long did not visit either of the sewage treatment plants

  involved in this case.

• He did not speak with Klepadlo or any person at GTSA or

  BNSA involved in overseeing Klepadlo’s work.

• Mr. Long did not speak with any employee of Klepadlo.

• Other than a GTSA DMR for November, 2017, the month

  before federal agents executed a search warrant at the plant,

  he did not use any sampling data EVER reported by Klepadlo

  for either plant. Why Mr. Long chose to use data submitted on

  the November, 2017, DMR remains a mystery since Klepadlo

  was fired by GTSA after the December 12, 2017, search. In

  fact, the GTSA brought in a new, very experienced engineer to

  evaluate the plant the day after the search. Mr. Long does not


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         discuss his findings or any corrective action the GTSA had to

         take.

     • To make up for his lack of use of sampling data reported by

         Klepadlo, Mr. Long used nine grab samples taken by PADEP

         over almost four years in forming his conclusions. Seven were

         taken from the GTSA discharge between 2012 and 2016 and

         two were taken from BNSA’s discharge a few months apart in

         2014. Thus, at best, Mr. Long used grab samples taken on nine

         days out of almost 1800 days to extrapolate from in forming his

         conclusions.

     • Mr. Long used seven GTSA grab sample results obtained by

         PADEP as part of his analysis for ammonia-nitrogen while

         saying at the same time that composite samples would have

         been better to measure ammonia and compliance with NPDES

         permits at both plants.3

     • Mr. Long failed to discuss the improper operation and

         maintenance aspects of the case at all, including the site




     3 Three of the seven samples reflected exceedances of the
instantaneous maximum permit limit for ammonia-nitrogen.
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        conditions observed by PADEP between 2013 and 2017. This

        included his failure to discuss the relevant conduct in this case,

        including the two-year conspiracy charge and the permit

        violations contained in other counts. He does not address the

        points about harm and risk detailed in the Government’s initial

        Sentencing Memorandum.

     The bottom line is that Mr. Long’s conclusions about lack of

environmental harm from Klepadlo’s conduct are based on the

assumption that the plants discharged wastes with the same

characteristics on the very limited days in which someone actually

sampled and the many, many days in which sampling did not occur.

Mr. Long focused his entire report on Klepadlo’s failure to take daily or

weekly sampling for almost six months for pH and ammonia, totally

disregarding the fact that Klepadlo admitted in 2017 to not performing

daily sampling for 20 years. He may not have been made aware of that

admission. Mr. Long also decided to throw out any sampling data

reported by Klepadlo for five years at the GTSA and BNSA plants,

presumably because of the questions about Klepadlo’s sampling

practices. He ignored the fact that, with no one coming to the plants for


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long periods of time, Klepadlo effectively rendered it impossible to

determine the quality of the sewage coming from the plants for months

and years.

     In essence, Mr. Long and Klepadlo seek to have the Court give

him the benefit of having very limited sampling data when Klepadlo is

responsible for the lack of reliable data. This would only serve to

reward criminal conduct. Further, Mr. Long ignored the fact that, at

GTSA, six weeks or more sometimes passed before an operator showed

up and took an actual sample, whether that was a grab or composite

sample.

     Mr. Long additionally failed to discuss the PADEP’s observations

about the presence of condoms and tampon applicators along the GTSA

discharge channel and the presence of bacterial growth and bloodworms

indicative of poorly treated sewage. It is almost as if he was not

provided with the PADEP inspection reports that covered almost five

years or any Notices of Violation issued to the permittees, or even the

conduct described in the two-year conspiracy charged in Count 1.

Further, the various photos taken between 2013 and 2017 during

PADEP inspections at GTSA, attached to the Government’s initial


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Sentencing Memorandum, demonstrate that the plant had operational

issues even when operators came daily or at least more regularly than a

day or two a week.   (Doc. 40, Exhibits 1.1 through 8.4).

     Given Klepadlo’s continued insistence that his conduct had no or

little effect on the environment or created a risk of harm, the

Government has attached two reports submitted by the professional

engineer hired by the GTSA after it fired Klepadlo shortly after

execution of a federal search warrant on December 12, 2017. On

January 10, 2018, the engineer reported that he had been to the plant

four times since December, 13, 2017, the day after the search warrant.

(See Exhibit A). He reported that “[t]he plant is reporting an effluent

quality to PADEP which is not possible with the current installed

equipment.” 4 Id. p. 1. He further noted that the composite sampler

used to take samples of the discharge was taking samples while the

plant was not discharging. His succinct conclusion: “Effectively, the

plant has no good sampling data.” Id. On February 22, 2018, the

engineer reported that he had discovered that the GTSA plant’s system


     4   The new engineer also reported that the plant was set to take
samples at times when wastewater was not being discharged. (Exhibit
A, p. 1).
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used to measure flow was undercounting flow volume. (See Exhibit B,

p. 1). Correct flows were in the neighborhood of 60,000 gallons per day

rather than reported 20,000-40,000 gallons per day. Mr. Long used the

flow reported by Klepadlo on the DMRs for years but not any sample

results reported by Klepadlo. The engineer also reported that some of

the sewage was bypassing the UV disinfection process. Id.

     In addition, the GTSA has filed a victim impact statement with

the Court. That statement, dated September 26, 2019, is attached as

Exhibit C. The GTSA detailed its history of employing Klepadlo and his

firm to design and construct the plant and serve as the GTSA Engineer.

The GTSA further noted that, following its firing of Klepadlo in

January, 2018, it slowly learned from professional engineers the

horrible operational condition of the plant and that Klepadlo had

misrepresented the condition of the plant repeatedly to the Board of the

GTSA. Id. At the time of submission, the GTSA estimated it would

have to spend $600,000 or more to fix the problems. Since then, the

GTSA has sued Klepadlo for more than two million dollars in

Lackawanna County Court of Common Pleas. (Greenfield Township

Sewer Authority v. David D. Klepadlo, Lack. Co. 19-CV-7106) (Klepadlo


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has filed a counterclaim and added the defendants in the related federal

criminal case as civil defendants.)5

     Even as late as December, 2017, Klepadlo had trouble operating

the GTSA plant. On December 12, 2017, PADEP inspector Jeremy

Miller took a grab sample of wastewater at the facility’s compliance

monitoring location (where the wastewater left the UV disinfection

point). Sewage solids covered part of the UV device itself, preventing it

from being able to fully disinfect wastewater which contained fecal

coliforms. (Doc. 40, Exhibit 8.1). As it turned out, Klepadlo had taken a

grab sample allegedly at the same location only a few hours prior to

Miller’s sample, based on a chain of custody form signed by Klepadlo.

The fecal coliform readings for the two samples are dramatically

different. The fecal coliform limit at GTSA in December, 2017, was

2,000 fecal colonies per 100 milliliters. As attached Exhibit D shows,

the grab sample taken by Klepadlo was analyzed by a third-party lab

hired by GTSA and found to contain 98.5 fecal colonies per 100

milliliters. In contrast, a PADEP laboratory analyzed Miller’s sample


     5The related case is United States v. Bruce Evans, et al, No. 3:CR-
19-009. A superseding indictment was obtained on May 28, 2020. (Doc.
62).
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taken a few hours after Klepadlo’s and found that it contained 161,000

fecal colonies per 100 milliliters – 80 times the permit limit and 1,724

times the level in Klepadlo’s sample. The inspector also observed

unacceptable conditions in the stream channel that day. As a result,

the PADEP issued a field order to the GTSA – the permittee – requiring

it to take corrective action at the plant. The GTSA brought in another

wastewater engineer the next day, and fired Klepadlo in early January

2018.

                   Quantity and Nature of the Pollutant

        Klepadlo claims that the “quantity” of pollutants discharged

illegal was “small”. (Doc. 70, p. 10). This is simply not true based on

simple math.

        Even if the Court just focuses on the six-month time period

between December, 2013, and June, 2014, during which Klepadlo and

his employee routinely failed to show up at the two plants and covered

that up by falsifying DMRs, the amount of sewage discharged into these

streams was substantial. The Government calculates that the total

amount of sewage discharged from the GTSA plant into the small

tributary of Dundaff Creek on days when no one checked on the plant


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during that surveillance period was almost six million gallons -

5,993,352. This is not a small amount of illegally discharged

wastewater. The Government conservatively calculated this number by

taking the average daily flow reported by Klepadlo to the PADEP

(giving him the benefit of the doubt about the accuracy of his flow

measurements), and removing the flow on all the days someone came to

the plant even if no sampling was performed on those limited days. No

one came on 116 days. PSR ¶ 12.

     The unnamed tributary’s flow downstream from the GTSA plant

consists in large part of the GTSA effluent until it flows into Dundaff

Creek. The tributary flows into Dundaff Creek, which has been

designated by PADEP as a habitat for Warm Water Fishes/Migratory

Fishes. 25 Pa. Code § 93.9i, Drainage List I. To say that regular

unmonitored discharge of this magnitude over a period of months from

a plant with no regular maintenance or operator checks, much less

sampling, is “small” defies belief. Similarly, the Government

conservatively calculates the amount of sewage discharged into the

environment from the BNSA plant at 2,064,742 gallons. This amount

reflected the 80 days neither Klepadlo nor his worker showed up at the


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plant. PSR ¶ 13. Of course, the almost 8 MILLION gallons of

unmonitored sewage coming out of the two plants is just the flow

occurring during the six-month surveillance from December, 2013 to

June, 2014. Klepadlo has admitted that he did not sample every day at

these and other sewage treatment plants for two decades or more, so

the total unmonitored discharge volume would be exponentially more

over time.

     Klepadlo focuses his harm attack on the supposed minimal or no

impact flowing from his failure to sample and test for pH and ammonia.

As Klepadlo knows, given his professional credentials and lengthy

experience, there are indicator parameters that show how well a plant

is operating. Controlling them are essential in reducing the impacts on

a receiving stream, especially at GTSA where the plant’s discharge

dwarfs the stream flow prior to discharge, and providing accurate data

to PADEP is essential for it to monitor a facility’s performance.

Submitting accurate, honest monitoring data required by NPDES

permits is at the heart of the CWA’s self-monitoring program because it

enables PADEP to evaluate plant’s performance and compliance.

Klepadlo’s failure to provide accurate and timely data because he did


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not think it was necessary, or did not want to do it himself or have

sufficient staff to do the required work, does not alter the fact that these

plants were discharging human waste, and that Klepadlo left the plants

to run on their own while he and his employee worked elsewhere on

DKA business.

     It is important to keep in mind the nature of the pollutants being

discharged into the receiving streams, including an unnamed tributary

of the South Branch of Tunkhannock Creek which received the

discharge from the BNSA plant. PADEP has designated that unnamed

tributary as habitat for Cold Water Fishes/Migratory Fishes. 25 Pa.

Code § 93.9i, Drainage List I. The residential and commercial sewage

coming into both plants contained ammonia, a toxic water pollutant. 33

U.S.C. § 1321(b)(2). The sewage also contained fecal coliforms, a

bacteria known to cause human illnesses. Klepadlo was supposed to

operate the plants to remove these substances to acceptable levels as

determined by PADEP. He cannot seriously claim he did so because

neither he nor his employee checked the plants regularly, must less

daily, and discharged at least 8 million gallons of unmonitored sewage.

The real number is much more: he admitted to federal agents in


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August, 2015, that he continued his practice of not sampling daily

through August, 2015, more than a year after the video surveillance

ended in June of 2014, and more than two years after being told in April

of 2013 by PADEP to stop reporting fake numbers.

                        Duration of the Offense

     Klepadlo has admitted that he routinely failed to take daily

samples for 20 years or more, PSR ¶ 11, because he considered it

“unnecessary”, “a waste of time” and “resources” (his own resources to

be clear since he paid an employee to do this work or did it himself

when it actually happened). The surveillance at GTSA showed that he

or his employee came to the plant on only 17 days. Many of these visits

were bunched together. Moreover, sampling was visible at GTSA on

only eight of the 17 days where someone showed up. With regard to

BNSA, the camera’s position was less well suited to capture attendance

at the plant and could not see whether sampling occurred when people

did arrive because the sampling point was inside a building. Still,

operators failed to appear on at least 80 days during the six-month




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period.6 These failures and the creation of sampling data were not one-

time events, but a recurring pattern of conduct done, by Klepadlo’s own

admission, to save time and money and because he thought they were

unnecessary. PSR ¶ 11. Klepadlo admitted to federal agents that he

still failed to sample daily as of August, 2015, and further admitted to

performing this illegal conduct for more than 20 years. This time period

would cover much if not all of the time he operated the GTSA facility

and the entire time he operated the BNSA plant.

     As will be shown at the sentencing hearing, the failure to properly

operate the plant continued over a period of years despite repeated

inspections by PADEP.

                    Risk Resulting From the Offense

     Many of the points discussed above apply to this factor. Even

Klepadlo acknowledges that failing to come to the plants each day

presented risk of harm, although he minimizes his role in that conduct

by saying that his “inattentive oversight of the plant’s operations could

have resulted in harm.” (Doc. 70, p. 9). (Emphasis in original). During


     6 In its Sentencing Memorandum, the Government erroneously
referred to 34 days. (Doc. 40, p. 13-14). The 80 days is the uncontested
number contained in paragraph 13 of the PSR.
                                    27
the surveillance period, the lack of daily visits to the plants presented

various risks: that the plants would not operate properly with no one

attending to them, that they would discharge sewage which, at best,

had only been partially treated, and that Klepadlo’s continued lying on

DMRs would mislead PADEP into thinking he had changed his ways,

and that he was operating the plants well. Unfortunately, a 20-year-

cheat does not change his spots very often, and this one did not,

continuing to accept payment for work that he did not perform.

Moreover, creating the false DMRs enabled him to claim to the GTSA

and BNSA that there were no problems at either of the plants. The

municipal authorities relied on him because he knew more than they

did about sewage treatment plants. His operation of the plants in

violation of the NPDES permits subjected them, the permit holders, to

CWA liability, a point the GTSA makes in its victim impact statement

to the Court. (Exhibit C).

     Klepadlo’s evaluation of risk is extremely limited. With no one

attending the plants for long periods of time, neither Klepadlo nor his

expert can say whether Klepadlo was discharging properly treated

sewage. That is one reason PADEP required daily sampling. At the


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GTSA, six weeks or more sometimes passed before an operator showed

up and took an actual sample, whether that was a grab or composite

sample. Failing to show up for most of a six-month period only

increased risks at both plants. Further, the various photos taken

between 2013 and 2017 demonstrate that the GTSA plant had

operational issues even when Klepadlo and his employee came more

frequently.

     Failing to show up for most of a six-month period only increased

risks at both plants, which Mr. Long ignored. While Klepadlo claims

that the plants were “automated,” no electronic system operates

without needed human attention. Sewage treatment plants do not

operate on autopilot; they are temperamental at best and require

continual attention. The GTSA and BNSA hired Klepadlo and his firm

to provide that needed attention and expertise. By Klepadlo’s own

admission, they did not get what they paid for.

V.   Section 2Q1.2(b)(4), Application Note 8

     The Government incorporates by reference its arguments

concerning the nature and quantity of the substances involved and the

risk presented by the offense. Further, the Government notes that


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actual harm is not a factor in a Subsection (b)(4), Application Note 8,

and analysis; rather, it is the risk from the offense.

     Klepadlo is not entitled to a guided departure under either Section

2Q1.2(b)(1) or (b)(4) because he has failed to meet his burden of proof.

He generalizes about the lack of harm to the environment, and

erroneously claims that the quantity of illegally discharged pollutants

was “small.” Klepadlo’s expert so limited his focus and analysis that it

appears he prepared his report as it the events described in it occurred

in a vacuum. On the other hand, the Government’s evidence shows that

Klepadlo wantonly discharged at least 8 million gallons of unmonitored

wastewater on unmonitored days during the surveillance period from

the two plants, and admitted to discharging vast amounts of

unmonitored sewage for 20 years at these two plants and others. The

Government’s evidence shows his failure to operate and maintain the

plant over multiple years, including the very high level of fecal coliform

present in the wastewater in December, 2017. The sample results that

day resulted in PADEP requiring GTSA to take corrective action.

     Ultimately, Klepadlo’s guided departure claims ignore one simple

proof issue which he cannot overcome: Klepadlo has no real data either


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for the surveillance period or, for that matter, for the entire period of

April, 2013, to December of 2017, to support his broad claim of no

environmental harm. He harps about PADEP’s failure to do stream

sampling (Doc. 70, p. 8-9). However, this is the proverbial straw man

because Klepadlo cannot offer one piece of concrete sampling data about

his own discharges for at least 4.5 years, if not longer. Even his own

expert declined to use his “data.” Klepadlo bears the burden of proof –

and without meaningful data his expert’s opinions about lack of harm

are speculative at best. Moreover, the available evidence from repeated

on-site visits by PADEP demonstrates the multiple problems Klepadlo

had operating them while assuring the GTSA and BNSA that

everything was fine.

     With regard to the surveillance period itself, Klepadlo falsified

data on so many days that trying to extrapolate from DMR data was

useless. Klepadlo’s own expert implicitly acknowledged that fact by not

using ANY of Klepadlo’s DMR data ever submitted for either of the two

plants, except, inexplicably, one month’s data from November of 2017 at

GTSA. Instead, Mr. Long relied on nine samples collected from the two

plants over a period of several years, even where PADEP took grab


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samples and the permits required composite sampling. If Klepadlo’s

expert cannot rely on Klepadlo’s data in making a guided departure

argument, Klepadlo cannot make out even a prima facie case for guided

departures.

      Finally, considering the broader relevant conduct, the record is

replete with documentary evidence, including photos attached to the

Government’s initial Sentencing Memorandum, showing the effects of

improper operation and maintenance at the plant from 2013 to 2017.

These include photos showing condoms and tampon applicators at the

discharge point and the presence of fungus and bloodworms that are

indicators of improperly treated sewage being discharged into the

tributary of Dundaff Creek. (See Doc. 40, Exhibits 1.1 – 8.4).

Discharging poorly treated sewage is not the kind of activity meant to

be encompassed in applying the guided departure.

VI.   §§ 3B1.1, 3B1.3 Do Not Overstate the Seriousness of the Offense

      In his initial Sentencing Memorandum, Klepadlo acknowledged

that the enhancements for Role in the Offense and Abuse of Position of

Trust/Use of Special Skill applied. But he argued that they overstated




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the seriousness of the environmental offense. This claim illustrates the

very different views of Klepadlo’s conduct over many years.

     Klepadlo is the owner of DKA. He was the decision maker in all

company operations, including contracting with the GTSA and BNSA.

He made all day-to-day decisions about staffing and job assignments

involving the work for these two municipal entities. Klepadlo dealt

with GTSA and BNSA at a managerial level, and was totally

responsible for all failures to perform the contracts. He kept the two

Authorities apprised of issues concerning plant performance, or, at least

he was supposed to do that. Klepadlo further admitted that neither he

nor his employee were doing daily sampling or checking on plant

performance, and that he was okay with that. His employee knew he

was okay with that. The fact that the employee might not tell the

owner that he was not going to the plants is not surprising given

Klepadlo’s cavalier attitude. Klepadlo set the tone, so he should not

now complain that his role in failing to take samples or ensuring that

his worker did so, having them analyzed, and submitting data that he

knew had been made up, overstates the seriousness of his Role in the

Offense.


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      The same is even truer for Abuse of Position of Trust. Klepadlo is

a long-time licensed professional engineer and wastewater treatment

plant operator. No one at either GTSA or BNSA had his expertise to

question his judgments about performance of the contracts and the

plants, and had no reason to suspect that he was not performing the

tasks required under contracts Klepadlo had negotiated with them. He

had a direct fiduciary duty to his clients, one he violated for years by his

own admission. When it came to wastewater treatment at these two

plants, he was the MAN – no ifs, ands or buts. It was only when the

GTSA fired him in January, 2018, and hired a very experienced

wastewater treatment engineer that it learned about the true state of

affairs at its plant.

VII. Section 3553(a) Factors

      Despite his guilty plea, Klepadlo continues to shift blame for his

legal woes on his employee whom he paid and supervised, or at least

was supposed to supervise. This is true with regard to his

environmental misconduct and, remarkably, obstruction of justice. In

his sentencing memos, he accused the employee of hiding illnesses from

him, failing to tell him that he was not going to the plants, lying to


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federal authorities, and claiming to have engaged in tampering with a

witness in order to help out a worker. (See Klepadlo’s Sentencing

Memorandum, 9/27/19, Sealed; Defense Objections to the PSR). In his

letter to the Court, dated September 25, 2019, Klepadlo spent one of the

2.5 pages discussing problems with his employee.

     The facts tell a different story. As the owner of DKA, Klepadlo

was responsible for ensuring that the employee showed up and did his

job, was responsible for ensuring he had sufficient staff to attend to

each plant daily, regardless of his personal opinion about whether daily

or weekly composite sampling was necessary, was responsible for

delivering the services the two municipalities paid him to do, and, of

course, complying with the law. Klepadlo possessed the most education,

training and work experience concerning the design, installation and

operation of POTWs, and thus he cannot hide behind claims that his

worker somehow caused his problems. Klepadlo, and Klepadlo alone, is

responsible for his conduct, and is responsible for his employee as the

supervisor of an employee who did his bidding without question.

Moreover, Klepadlo admitted to PADEP inspectors that for at least two

decades he knew the required daily samples were not being taken


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because in his view, they were not necessary, no matter what the

NPDES permit required.

     These claims about his worker underlie his repeated claim that he

pled guilty as the “responsible corporate officer” for DKA or because he

provided “inattentive oversight” of his worker and the plants. In effect,

Klepadlo seeks to deny that he had personal and direct responsibility

for the charged CWA offenses, including the one to which he pled guilty.

The responsible corporate officer doctrine is rooted in the CWA, see 33

U.S.C. § 1319(c)(5). However, it is not a claim based on vicarious

liability. Indeed the facts here with regard to Count 4, facts which

Klepadlo has not contested as set forth in paragraphs 12-13 of the PSR,

make clear he signed the DMRs as the person designated by his clients

as having the authority to do so on behalf of them, the permittees.

Klepadlo knew the DMRs were false, and he signed and submitted them

month after month after month, year after year after year.

                    Disparate Sentencing Argument

     In his original sentencing memorandum, Klepadlo cites 23

prosecutions involving CWA false statement offenses without providing

much in the way of facts about each one to see if they are truly similar.


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However, they do not appear truly similar. The summary provided by

Klepadlo for each of these cases does not contain any mention that the

defendants in those cases obstructed justice. A defendant similarly

situated to Klepadlo would be one who committed both environmental

offenses and obstruction of justice. Klepadlo’s comparison claims

effectively attempts to reduce the obstruction of justice conduct in this

case to a mere footnote.

     The Government has not undertaken a factual analysis of all the

cases. However, Special Assistant United States Attorneys Martin

Harrell and Patricia C. Miller, both of the EPA Region 3 (Mid-Atlantic)

legal office, served as Special Assistant United States Attorneys

(SAUSA) on some of the listed cases. They provide the Court with the

following information about those prosecutions.

     Ms. Miller represented the Government in the investigation of

Matthew Brozena, his company, MAB Environmental, and three

employees – Stephen Fritz, James Crafton and James Wetzel. Fritz

and Crafton pled to one count of making a false statement in violation

of 18 U.S.C. § 1319(c)(4). Brozena and Wetzel pled to negligently

violating a NPDES permit, a misdemeanor not a felony. Brozena,


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Wetzel, and Crafton were licensed by PADEP as wastewater treatment

plant operators. The charges involved wastewater discharges at a small

trailer park, a nursing home and a chicken processing plant.    All three

lower-level employees falsified sample results in lieu of sampling, or

changed lab results, and the two certified operators submitted DMRs

that they knew contained false sample results. Unlike Klepadlo, all

three cooperated early in the investigation and did not obstruct justice.

Unlike Klepadlo, the company owner, Brozena, pled to a CWA

misdemeanor offense involving a CWA permit charge and did not

obstruct justice.

     Ms. Miller also served as a SAUSA in United States v. Shtompil,

(EDPA 2:12-cr-11). The defendant was the director of operations at a

manufacturing plant in Philadelphia that discharged process

wastewater to the City’s sewer system. He and others at the company

diluted compliance monitoring samples to obtain results closer to or

within CWA pretreatment permit limits imposed by federal and

municipal regulation. There was no evidence of disruption of the City’s

treatment plant, unlike Klepadlo’s effects on his POTWs in this case.




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     SAUSA Harrell, Ms. Miller’s supervisor at EPA, represented the

Government in the investigation of illegal discharges to the City of

Wilmington’s sewer system from a used oil refinery in Wilmington,

Delaware. This involves the prosecution of two of the cases cited by

Klepadlo: John Lowery and Lance Charen. Lowery, the lead plant

operator, cooperated early in the investigation, pled guilty to conspiracy

to violate the CWA, and did not obstruct justice. As for Charen, he

served as the second-level manager for the large, international

environmental services firm that owned the Wilmington facility.

Charen pled guilty to conspiring to violate the CWA and to shipping a

large quantity of hazardous waste as non-hazardous waste to South

Carolina from Wilmington shortly after federal agents executed a

search warrant regarding the CWA issues. There, the City believed

that the plant’s discharges caused problems at the treatment plant

itself. The company was the second-largest discharger to Wilmington’s

sewer system. The Government sought two years in prison; the court

sentenced him to one year. A corporate defendant paid the City more

than $2 million dollars in restitution.




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      All of the discussion about guideline issues involving the

environmental aspects of this case runs the risk of obscuring what

should be a principal focus at sentencing – Klepadlo’s admitted witness

tampering and his post-indictment attempt to contact the witness.

Klepadlo was indicted on two counts of obstruction of justice

representing two attempts to tamper with a witness, and he pled guilty

to one count. Klepadlo attempts in his sentencing memoranda and in

his letter to the Court to provide “context” for his conduct, i.e., his

efforts to help his employee. The recorded telephone calls between

Klepadlo and his employee belie that explanation. To the contrary,

Klepadlo instructed the witness to feign ignorance, to claim that a

retired DEP inspector said it was okay not to sample each day, and to

say repeatedly that he did not recall. PSR ¶ 15. Furthermore, Klepadlo

was arrested after being indicted and, at his initial appearance, he and

the magistrate judge discussed at some length that he could not contact

witnesses in the case. Within hours, Klepadlo contacted the witness

and provided him with questions to answer about the case. PSR ¶ 2.

This led to the re-arrest of Klepadlo.




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                Respect for the Rule of Law/Deterrence

     Klepadlo was a self-professed “arrogant” man. (Sentencing

Memorandum 9/27/19, Sealed, Exhibit A). His conduct over more than

20 years in falsifying sampling data, disregarding PADEP concerns

about his sampling and operational problems, discharging millions of

gallons of unmonitored human waste, misleading clients about how

their sewage treatment plants were performing, repeatedly telling a

witness to lie to government authorities, and disregarding a

magistrate’s clear post-arrest instruction not to contact witnesses are a

testament to the truth of Klepadlo’s description of himself. While he

professes to be a changed man, his conduct remains, and it must be

punished by more than living at home. Klepadlo made a good living

because of the presence of environmental regulation in the United

States. He abused that trust, and specific deterrence is a must.

     The need for general deterrence is also great. Licensed

wastewater treatment plant operators, and the CWA permittees which

employ them, are the backbone of water protection in this country.

Klepadlo’s own citation of some of the many CWA false statement

prosecutions nationally is testimony to the recurring nature of illegal


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conduct by such operators. Sending a substantial deterrence message

in this case, where Klepadlo is a professional engineer, a licensed

operator, and the owner of an engineering and environmental

consulting firm who lied to his clients, is required to promote respect for

the law and deter others.

     The defense argues that Klepadlo never intended to harm the

environment. Very few people act with the conscious desire to harm the

environment even if that may be the result of intentional actions. Here,

given Klepadlo’s status as a professional engineer, designer of sewage

treatment plants, a licensed wastewater treatment plant operator and a

person whom communities relied on for professional expertise in

serving residents and protecting the environment, there is no question

that a prison term should be imposed.

     The Government recognizes that Klepadlo has developed health

problems since the conduct in this case; however, this is not reason to

impose a probationary sentence in this egregious case. The

Government asks the Court to impose a prison term at the bottom of

the applicable guideline range – 37 months, and to delay Klepadlo’s

report date in the discretion of the Court. As for a fine, the Government


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urges that the defendants be ordered to pay a fine jointly and severally

of $50,000.

VIII. Conclusion

     The Government respectfully requests that the Court impose a

period of imprisonment of 37 months on the defendant, Klepadlo. The

Government also asks that Klepadlo and DKA be fined in accordance

with their ability to pay a fine, which appears to be significant, and

requests a fine in the amount of $50,000.

                                  Respectfully submitted,

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